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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,             )
                                      )
               Plaintiff,             )       ORDER
                                      )
       vs.                            )
                                      )
Ricardo Augustus Bryan,               )
                                      )       Case No. 4:12-cr-175-20
               Defendant.             )


       Defendant was ordered to surrender his passport to the Pretrial Services Office in Fort

Lauderdale, Florida, as a condition of his release pending final disposition of this matter. On

September 4, 2015, defendant filed a “Request for Authorization for Release of Passport or

Alternatively Copy of Passport.” Averring that a prospective employer requires a copy of his

passport, he asks the court to order the Pretrial Services Office to either return his passport or

provide him with a copy of it.

       The court GRANTS defendant’s request (Docket No. 689) in part; the Pretrial Services

Office in Fort Lauderdale, Florida, is directed to provide defendant with a copy of his passport.

       IT IS SO ORDERED.

       Dated this 21st day of September, 2015.

                                                     /s/ Charles S. Miller, Jr.
                                                     Charles S. Miller, Jr., Magistrate Judge
                                                     United States District Court
